Case 2:07-md-01873-KDE-MBN Document 14467 Filed 06/22/10 Page 1 0149
0 440 (Rev, 04/08) Civil §

UNITED STATES DISTRICT COURT
for the RETURN

Eastern District of Louisiana

Barbara Jacques
Plaintiff
v. Civil Action No.
DS Corp., d/b/a CrossRoads RV, Fluor Enterprises,
Inc., and United States of America through the

09-3306
Federal Emergency Management Agency '
This case relates to MDL No. 07-1873
Defendant SECT. i i Ni i AG

Summons in a Civil Action

To: (Defendant's name and address)
Administrator of FEMA
R-DavidPaulisoa @L4/@ FUGOATE
500 C. Street S.W.
Washington, DC 20472

A lawsuit has been filed against you.

Within GO days after service of this summons on you (not counting the day you received it), you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff’s attorney, whose name and address are:

Justin I Woods, Gaindburgh, Benjamin, David, Meunier & Warshauer, L.L.C. 2800 Energy Centre, 1100 Poydras St.

New Orleans, LA 70163

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

LORETTA G. WHYTE

DATE OF ENTRY

Name of clerk of court

7 2009
Date: Are ~ AC a“ SK
—

Deputy clerk's signature

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(Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States allowed 60 days by
Rule 12(a)(3).) ‘

%& AO 440 (Rev. 04/08) Civil Summons (Page 2)

Proof of Service

] declare under penalty of perjury that I served the summons and complaint in this case on
by: :

(1)personally delivering a copy of each to the individual at this place,

> Or

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with

— rete
— ———————————— ——

who resides there and is of suitable age and discretion; or

(3) delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

; or
(4)returning the summons unexecuted to the court clerk on ; Or
(5)other (specif)
My fees are $ for travel and $ for services, for a total of $ 0.00
Date:

Server’s signature

Printed name and title

Server’s address
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Permit No. G-10

* Sender: Please print your name, address, and ZIP+4 in this box *

Justin I. Woods, Esq. '
Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
1100 Poydras Street, Suite 2800
New Orleans, Louisiana 70163

Formaldehyde 09-3306 Barbara Jacques

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